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Form 6-Summary (10/06)



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                                                                  United States Bankruptcy Court
                                                                           Western District of Virginia
  In re          Karen F. Cunningham                                                                                  Case No.      07-61731
                                                                                                                ,
                                                                                               Debtor
                                                                                                                      Chapter                   7




                                                                       SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                             ATTACHED                NO. OF          ASSETS                LIABILITIES             OTHER
                                                            (YES/NO)               SHEETS

A - Real Property                                                 Yes                 1                 148,000.00


B - Personal Property                                             Yes                 3                    4,192.00


C - Property Claimed as Exempt                                    Yes                 1


D - Creditors Holding Secured Claims                              Yes                 3                                         179,391.00


E - Creditors Holding Unsecured                                   Yes                 1                                               0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                   Yes                 5                                          66,816.35
    Nonpriority Claims

G - Executory Contracts and                                       Yes                 1
   Unexpired Leases

H - Codebtors                                                     Yes                 1


I - Current Income of Individual                                  Yes                 1                                                                  1,600.00
    Debtor(s)

J - Current Expenditures of Individual                            Yes                 2                                                                  2,006.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                            19


                                                                                Total Assets            152,192.00


                                                                                                 Total Liabilities              246,207.35




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Official Form 6 - Statistical Summary (10/06)



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                                                                  United States Bankruptcy Court
                                                                           Western District of Virginia
  In re            Karen F. Cunningham                                                                                 Case No.   07-61731
                                                                                                            ,
                                                                                          Debtor
                                                                                                                       Chapter                  7


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                    report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                    Amount

              Domestic Support Obligations (from Schedule E)                                                        0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                    0.00

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E)
                                                                                                                    0.00

              Student Loan Obligations (from Schedule F)                                                            0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                    0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                    0.00

                                                                                 TOTAL                              0.00


              State the following:

              Average Income (from Schedule I, Line 16)                                                         1,600.00

              Average Expenses (from Schedule J, Line 18)                                                       2,006.00

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                          1,700.00


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                       31,391.00

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                                    0.00

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                             0.00

              4. Total from Schedule F                                                                                                 66,816.35

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                             98,207.35




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Form B6A
(10/05)


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  In re          Karen F. Cunningham                                                                                Case No.     07-61731
                                                                                                        ,
                                                                                          Debtor

                                                                 SCHEDULE A. REAL PROPERTY
      Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, or both own the property by placing an "H," "W," "J," or "C" in the column
labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under "Description and Location of Property."
      Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
      If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim."
      If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.

                                                                                                        Husband,    Current Value of
                                                                                Nature of Debtor's       Wife,     Debtor's Interest in           Amount of
                 Description and Location of Property                           Interest in Property     Joint, or  Property, without            Secured Claim
                                                                                                       Community Deducting  any Secured
                                                                                                                   Claim or Exemption

Lot 13 Block A Evergreen Subdivision                                            Fee simple                  -                  148,000.00               179,391.00




                                                                                                        Sub-Total >            148,000.00       (Total of this page)

                                                                                                                Total >        148,000.00
  0     continuation sheets attached to the Schedule of Real Property                                   (Report also on Summary of Schedules)
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Form B6B
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  In re          Karen F. Cunningham                                                                                    Case No.       07-61731
                                                                                                            ,
                                                                                           Debtor

                                                           SCHEDULE B. PERSONAL PROPERTY
   Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing
an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint petition is filed, state the
amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
  Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
In providing the information requested in this schedule, do not include the name or address of a minor child. Simply state "a minor child."
                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

1.     Cash on hand                                              in purse                                                          -                            12.00

2.     Checking, savings or other financial                      checking                                                          -                              5.00
       accounts, certificates of deposit, or
       shares in banks, savings and loan,
       thrift, building and loan, and
       homestead associations, or credit
       unions, brokerage houses, or
       cooperatives.

3.     Security deposits with public                         X
       utilities, telephone companies,
       landlords, and others.

4.     Household goods and furnishings,                          Corner TV Cabinet, 2 tvs, 2 sofas, 3 beds, 2                      -                        2,000.00
       including audio, video, and                               dressers, 4 lamps, 1 stero, kitchen table and four
       computer equipment.                                       chairs, buffet, 2 bookcases, desk, filing cabinet,
                                                                 office chair, patio furniture, grill, 2 air conditioners,
                                                                 microwave, fridge, stove,

5.     Books, pictures and other art                             family pictures and frames, pleasure books                        -                            70.00
       objects, antiques, stamp, coin,
       record, tape, compact disc, and
       other collections or collectibles.

6.     Wearing apparel.                                          clothes                                                           -                           300.00

7.     Furs and jewelry.                                         costume jewelry, and two rings                                    -                           150.00

8.     Firearms and sports, photographic,                    X
       and other hobby equipment.

9.     Interests in insurance policies.                      X
       Name insurance company of each
       policy and itemize surrender or
       refund value of each.

10. Annuities. Itemize and name each                         X
    issuer.




                                                                                                                                   Sub-Total >            2,537.00
                                                                                                                       (Total of this page)

  2     continuation sheets attached to the Schedule of Personal Property

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Form B6B
(10/05)




  In re          Karen F. Cunningham                                                                                    Case No.       07-61731
                                                                                                            ,
                                                                                           Debtor

                                                           SCHEDULE B. PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

11. Interests in an education IRA as                         X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c); Rule 1007(b)).

12. Interests in IRA, ERISA, Keogh, or                       X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                      X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                       X
    ventures. Itemize.

15. Government and corporate bonds                           X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                     X

17. Alimony, maintenance, support, and                       X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owing debtor                      X
    including tax refunds. Give
    particulars.

19. Equitable or future interests, life                      X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                             X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                        X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.


                                                                                                                                   Sub-Total >                  0.00
                                                                                                                       (Total of this page)

Sheet 1 of 2          continuation sheets attached
to the Schedule of Personal Property

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Form B6B
(10/05)




  In re          Karen F. Cunningham                                                                                    Case No.        07-61731
                                                                                                            ,
                                                                                           Debtor

                                                           SCHEDULE B. PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

22. Patents, copyrights, and other                           X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                          X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                     X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                           1995 Honda                                                         -                       1,500.00
    other vehicles and accessories.

26. Boats, motors, and accessories.                          X

27. Aircraft and accessories.                                X

28. Office equipment, furnishings, and                           computer, printer                                                  -                          150.00
    supplies.

29. Machinery, fixtures, equipment, and                      X
    supplies used in business.

30. Inventory.                                               X

31. Animals.                                                     dog                                                                -                             5.00

32. Crops - growing or harvested. Give                       X
    particulars.

33. Farming equipment and                                    X
    implements.

34. Farm supplies, chemicals, and feed.                      X

35. Other personal property of any kind                      X
    not already listed. Itemize.




                                                                                                                                   Sub-Total >            1,655.00
                                                                                                                       (Total of this page)
                                                                                                                                        Total >           4,192.00
Sheet 2 of 2          continuation sheets attached
to the Schedule of Personal Property                                                                                               (Report also on Summary of Schedules)
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 Form B6C
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   In re          Karen F. Cunningham                                                                                   Case No.       07-61731
                                                                                                               ,
                                                                                              Debtor

                                               SCHEDULE C. PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                        Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                        $136,875.
    11 U.S.C. §522(b)(2)
    11 U.S.C. §522(b)(3)

                                                                                      Specify Law Providing                   Value of            Current Value of
                    Description of Property                                              Each Exemption                       Claimed             Property Without
                                                                                                                             Exemption          Deducting Exemption
Cash on Hand
in purse                                                                         Va. Code Ann. § 34-4                                 12.00                      12.00

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
checking                                          Va. Code Ann. § 34-4                                                                   5.00                      5.00

Household Goods and Furnishings
Corner TV Cabinet, 2 tvs, 2 sofas, 3 beds, 2                                     Va. Code Ann. § 34-26(4a)                         2,000.00                  2,000.00
dressers, 4 lamps, 1 stero, kitchen table and
four chairs, buffet, 2 bookcases, desk, filing
cabinet, office chair, patio furniture, grill, 2 air
conditioners, microwave, fridge, stove,

Books, Pictures and Other Art Objects; Collectibles
family pictures and frames, pleasure books          Va. Code Ann. § 34-26(2)                                                          70.00                      70.00

Wearing Apparel
clothes                                                                          Va. Code Ann. § 34-26(4)                            300.00                     300.00

Furs and Jewelry
costume jewelry, and two rings                                                   Va. Code Ann. § 34-26(1a)                           150.00                     150.00

Automobiles, Trucks, Trailers, and Other Vehicles
1995 Honda                                                                       Va. Code Ann. § 34-26(8)                          1,500.00                  1,500.00

Office Equipment, Furnishings and Supplies
computer, printer                                                                Va. Code Ann. § 34-4                                150.00                     150.00

Animals
dog                                                                              Va. Code Ann. § 34-26(5)                                5.00                      5.00




                                                                                                               Total:              4,192.00                  4,192.00
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
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 Official Form 6D (10/06)



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   In re           Karen F. Cunningham                                                                                             Case No.     07-61731
                                                                                                                      ,
                                                                                                     Debtor

                                      SCHEDULE D. CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, indicate that by stating "a minor child" and do not disclose the child’s
 name. See 11 U.S.C. § 112. If "a minor child" is stated, also include the name, address, and legal relationship to the minor child of a person described in Fed. R. Bankr. P.
 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
              CREDITOR'S NAME                                   O                                                              O    N   I
                                                                D   H            DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                              T    I   P       WITHOUT        UNSECURED
            INCLUDING ZIP CODE,                                 B   W              NATURE OF LIEN, AND                         I    Q   U                      PORTION, IF
                                                                T   J             DESCRIPTION AND VALUE                        N    U   T
                                                                                                                                               DEDUCTING
           AND ACCOUNT NUMBER                                   O                                                              G    I   E       VALUE OF          ANY
             (See instructions above.)
                                                                    C                  OF PROPERTY
                                                                R
                                                                                      SUBJECT TO LIEN
                                                                                                                               E    D   D     COLLATERAL
                                                                                                                               N    A
                                                                                                                               T    T
Account No.                                                             2001                                                        E
                                                                                                                                    D

Acres of Virginia                                                       Judgment Lien
404 Clay Street
Lynchburg, VA 24504                                                     Lot 13 Block A Evergreen Subdivision
                                                                    -

                                                                         Value $                              148,000.00                           977.00                    0.00
Account No.                                                             1998`

Bank of America - Glasser & Glasser                                     Deed of Trust
584 E. Main Street
Sutie 600                                                               Lot 13 Block A Evergreen Subdivision
                                                                    -
Norfolk, VA 23510

                                                                         Value $                              148,000.00                         73,000.00                   0.00
Account No.                                                             2005

Bedford Memorial Hospital                                               Judgment Lien
PO BOX 11903
Roanoke, VA 24022-1903                                                  Lot 13 Block A Evergreen Subdivision
                                                                    -

                                                                         Value $                              148,000.00                           726.00                    0.00
Account No.                                                             2001

Department of Taxation                                                  Judgment Lien
P.O. Box 1880
Richmond, VA 23218                                                      Lot 13 Block A Evergreen Subdivision
                                                                    -

                                                                         Value $                              148,000.00                          4,114.00                   0.00
                                                                                                                            Subtotal
 2
_____ continuation sheets attached                                                                                                               78,817.00                   0.00
                                                                                                                   (Total of this page)




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 Official Form 6D (10/06) - Cont.




   In re            Karen F. Cunningham                                                                                            Case No.     07-61731
                                                                                                                      ,
                                                                                                     Debtor


                                      SCHEDULE D. CREDITORS HOLDING SECURED CLAIMS
                                                                                         (Continuation Sheet)

                                                                C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                                    O                                                              O    N   I
                                                                D   H            DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                              T    I   P       WITHOUT        UNSECURED
                                                                    W              NATURE OF LIEN, AND                                                         PORTION, IF
            INCLUDING ZIP CODE,                                 B
                                                                                  DESCRIPTION AND VALUE
                                                                                                                               I    Q   U
                                                                                                                                               DEDUCTING
                                                                T   J                                                          N    U   T                         ANY
           AND ACCOUNT NUMBER                                   O   C                  OF PROPERTY                             G    I   E       VALUE OF
              (See instructions.)                               R
                                                                                      SUBJECT TO LIEN                          E    D   D     COLLATERAL
                                                                                                                               N    A
                                                                                                                               T    T
Account No.                                                             2007                                                        E
                                                                                                                                    D

Faisal Development, LLC                                                 Judgment Lien
c/o Seth Twery
P.O. Box 185                                                            Lot 13 Block A Evergreen Subdivision
                                                                    -
Lynchburg, VA 24505

                                                                         Value $                              148,000.00                          6,600.00                   0.00
Account No.                                                             2003

Farmers Bank of Appomattox                                              Judgment Lien
P.O. Box 216
Appomattox, VA 24522                                                    Lot 13 Block A Evergreen Subdivision
                                                                    -

                                                                         Value $                              148,000.00                         11,621.00                   0.00
Account No.                                                             2006

John L. Wynne                                                           Deed of Trust
1688 Holcomb Rock Road
Lynchburg, VA 24503                                                     Lot 13 Block A Evergreen Subdivision
                                                                    -

                                                                         Value $                              148,000.00                         40,000.00                   0.00
Account No.                                                             2005

Lindonn Associates                                                      Judgment Lien
c/o Petty Livingston
P.O. box 1099                                                           Lot 13 Block A Evergreen Subdivision
                                                                    -
Lynchburg, VA 24505

                                                                         Value $                              148,000.00                          1,430.00                   0.00
Account No.                                                             2005

National Loan Recovery                                                  Judgment Lien
c/o Shenandoah Legal Group
305 First Street SW Suite 500                                           Lot 13 Block A Evergreen Subdivision
                                                                    -
Roanoke, VA 24011

                                                                         Value $                              148,000.00                          2,954.00                   0.00
       1
Sheet _____    2
            of _____  continuation sheets attached to                                                                       Subtotal
                                                                                                                                                 62,605.00                   0.00
Schedule of Creditors Holding Secured Claims                                                                       (Total of this page)




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 Official Form 6D (10/06) - Cont.




   In re            Karen F. Cunningham                                                                                            Case No.     07-61731
                                                                                                                      ,
                                                                                                     Debtor


                                      SCHEDULE D. CREDITORS HOLDING SECURED CLAIMS
                                                                                         (Continuation Sheet)

                                                                C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                                    O                                                              O    N   I
                                                                D   H            DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                              T    I   P       WITHOUT        UNSECURED
                                                                    W              NATURE OF LIEN, AND                                                         PORTION, IF
            INCLUDING ZIP CODE,                                 B
                                                                                  DESCRIPTION AND VALUE
                                                                                                                               I    Q   U
                                                                                                                                               DEDUCTING
                                                                T   J                                                          N    U   T                         ANY
           AND ACCOUNT NUMBER                                   O   C                  OF PROPERTY                             G    I   E       VALUE OF
              (See instructions.)                               R
                                                                                      SUBJECT TO LIEN                          E    D   D     COLLATERAL
                                                                                                                               N    A
                                                                                                                               T    T
Account No.                                                             2005                                                        E
                                                                                                                                    D

Sharon Tabor Warren EA INC                                              Judgment Lien
901 Church St.
Lynchburg, VA 24504                                                     Lot 13 Block A Evergreen Subdivision
                                                                    -

                                                                         Value $                              148,000.00                          3,940.00                   0.00
Account No.                                                             2007

Timothy Hodges                                                          Mechanic's Lien
P.O. box 1222
Forest, VA 24551                                                        Lot 13 Block A Evergreen Subdivision
                                                                    -

                                                                         Value $                              148,000.00                         34,029.00           31,391.00
Account No.




                                                                         Value $
Account No.




                                                                         Value $
Account No.




                                                                         Value $
       2
Sheet _____    2
            of _____  continuation sheets attached to                                                                       Subtotal
                                                                                                                                                 37,969.00           31,391.00
Schedule of Creditors Holding Secured Claims                                                                       (Total of this page)
                                                                                                                             Total              179,391.00           31,391.00
                                                                                                   (Report on Summary of Schedules)

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  In re           Karen F. Cunningham                                                                                     Case No.         07-61731
                                                                                                              ,
                                                                                           Debtor

                          SCHEDULE E. CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, indicate that by stating "a minor child" and do not disclose the child’s name. See 11 U.S.C. § 112. If "a minor child" is stated, also
     include the name, address, and legal relationship to the minor child of a person described in Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts who file a case under
     chapter 7 or 13 report this total also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts who file a case
     under chapter 7 report this total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative of
     such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a trust
     or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
        Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not delivered
     provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or another
     substance. 11 U.S.C. § 507(a)(10).




     * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                0   continuation sheets attached
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   In re           Karen F. Cunningham                                                                                        Case No.     07-61731
                                                                                                                          ,
                                                                                                        Debtor


                  SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, indicate that by stating "a minor child" and do not disclose the
 child’s name. See 11 U.S.C. § 112. If "a minor child" is stated, also include the name, address, and legal relationship to the minor child of a person described in Fed. R.
 Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts filing a case under chapter 7, report this total also on the Statistical Summary of Certain
 Liabilities and Related Data.

       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                     CREDITOR'S NAME,                                            O                                                           O   N   I
                  AND MAILING ADDRESS                                            D   H                                                       N   L   S
                   INCLUDING ZIP CODE,                                           E               DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                     W
                  AND ACCOUNT NUMBER
                                                                                 B             CONSIDERATION FOR CLAIM. IF CLAIM             I   Q   U
                                                                                                                                                         AMOUNT OF CLAIM
                                                                                 T   J                                                       N   U   T
                                                                                 O               IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                    (See instructions above.)                                    R
                                                                                     C
                                                                                                                                             E   D   D
                                                                                                                                             N   A
Account No. 0000                                                                         2006                                                T   T
                                                                                                                                                 E
                                                                                         open account                                            D

ADELPHIA
2820 LINKHORNE DRIVE.                                                                -
Lynchburg, VA 24503-3347

                                                                                                                                                                           243.00
Account No. 0000                                                                         2007
                                                                                         open account
AT&T Credit Management
PO BOX 57907                                                                         -
Salt Lake City, UT 84157

                                                                                                                                                                           173.00
Account No. 0000                                                                         2007
                                                                                         collection
Bank of The James
828 Main Street                                                                      -
Lynchburg, VA 24504

                                                                                                                                                                       15,117.00
Account No. 9517180056                                                                   2002
                                                                                         collection
BENEFICIAL/HFC
PO BOX 1547                                                                          -
Chesapeake, VA 23327

                                                                                                                                                                         5,693.00

                                                                                                                                           Subtotal
 4
_____ continuation sheets attached                                                                                                                                     21,226.00
                                                                                                                                 (Total of this page)




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   In re            Karen F. Cunningham                                                                                       Case No.     07-61731
                                                                                                                          ,
                                                                                                        Debtor

                   SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                     CREDITOR'S NAME,                                            O                                                           O   N   I
                  AND MAILING ADDRESS                                            D   H                                                       N   L   S
                   INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                  AND ACCOUNT NUMBER                                             T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                    (See instructions above.)                                    R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. 23156                                                                        2007                                                    E
                                                                                         collection                                              D

BENEFICIAL/HOUSEHOLD FINANCE
PO BOX 1547                                                                          -
Chesapeake, VA 23327

                                                                                                                                                                      5,693.30
Account No. 0000                                                                         2007
                                                                                         medical
Carilion Bedford Memorial
PO BOX 8716                                                                          -
Roanoke, VA 24014

                                                                                                                                                                        765.25
Account No. 02231                                                                        2006
                                                                                         collection
Central Credit Services
9550 Regency Square Blvd.                                                            -
Jacksonville, FL 32225

                                                                                                                                                                        175.25
Account No. 101474                                                                       2001
                                                                                         collection
CFC Deficiency Recovery
5225 Crooks Rd. Ste 140                                                              -
Troy, MI 48098

                                                                                                                                                                      9,850.00
Account No. 0000                                                                         2006
                                                                                         COLLECTION
Chevy Chase bank
PO BOX 15292                                                                         -
Wilmington, DE 19886

                                                                                                                                                                        122.54

           1
Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                                    Subtotal
                                                                                                                                                                    16,606.34
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re            Karen F. Cunningham                                                                                       Case No.     07-61731
                                                                                                                          ,
                                                                                                        Debtor

                   SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                     CREDITOR'S NAME,                                            O                                                           O   N   I
                  AND MAILING ADDRESS                                            D   H                                                       N   L   S
                   INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
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                  AND ACCOUNT NUMBER                                             T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                    (See instructions above.)                                    R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. 0000                                                                         2007                                                    E
                                                                                         collection                                              D

Columbia Gas
PO BOX 830005                                                                        -
Baltimore, MD 21283

                                                                                                                                                                        384.00
Account No. 0000                                                                         2006
                                                                                         collection
CREDIT COLLECTION SERVICES
TWO WELLS AVENUE                                                                     -
DEPARTMENT 9134
Newton Center, MA 02459
                                                                                                                                                                          40.05
Account No. 0000                                                                         2007
                                                                                         collection
DELL FINANCIAL SERVICES
3500 WADLEY PLACE BUILDING A                                                         -
Austin, TX 78728-1279

                                                                                                                                                                        743.20
Account No. 0000                                                                         2007
                                                                                         open account
DIRECTV
PO BOX 78626                                                                         -
Phoenix, AZ 85062-8626

                                                                                                                                                                        224.23
Account No. 230841                                                                       2006
                                                                                         collection
ECMC
American Bank Building                                                               -
101 5th Street E, Ste 2500
Saint Paul, MN 55101-1898
                                                                                                                                                                      3,343.00

           2
Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                                    Subtotal
                                                                                                                                                                      4,734.48
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re            Karen F. Cunningham                                                                                       Case No.     07-61731
                                                                                                                          ,
                                                                                                        Debtor

                   SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                     CREDITOR'S NAME,                                            O                                                           O   N   I
                  AND MAILING ADDRESS                                            D   H                                                       N   L   S
                   INCLUDING ZIP CODE,
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                  AND ACCOUNT NUMBER                                             T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                    (See instructions above.)                                    R                                                           E   D   D
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Account No. 03801                                                                        2003                                                    E
                                                                                         collection                                              D

Farmers Bank of Appomattox
PO BOX 187                                                                           -
Appomattox, VA 24522

                                                                                                                                                                    11,621.00
Account No. 0000                                                                         2007
                                                                                         collection
First National Bank
PO BOX 151                                                                           -
Forest, VA 24551

                                                                                                                                                                      3,543.20
Account No. 12356                                                                        2006
                                                                                         collection
FIRST POINT COLLECTION
225 Commerce Place                                                                   -
PO BOX 26140
Greensboro, NC 27402-6140
                                                                                                                                                                        289.18
Account No. 0000                                                                         2007
                                                                                         open account
LOWES
PO BOX 530914                                                                        -
Atlanta, GA 30353-0914

                                                                                                                                                                      3,258.20
Account No. 0000                                                                         2007
                                                                                         collection
Peaks View Animal Hospital
802 Wiggington Rd                                                                    -
Lynchburg, VA 24502

                                                                                                                                                                        492.91

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Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                                    Subtotal
                                                                                                                                                                    19,204.49
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re            Karen F. Cunningham                                                                                             Case No.      07-61731
                                                                                                                           ,
                                                                                                        Debtor

                   SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                             C   U   D
                     CREDITOR'S NAME,                                            O                                                                  O   N   I
                  AND MAILING ADDRESS                                            D   H                                                              N   L   S
                   INCLUDING ZIP CODE,
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                  AND ACCOUNT NUMBER                                             T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                    (See instructions above.)                                    R                                                                  E   D   D
                                                                                                                                                    N   A
                                                                                                                                                    T   T
Account No. 000                                                                          2007                                                           E
                                                                                         collection                                                     D

Security Check LLC
PO Box 1530                                                                          -
Southaven, MS 38671

                                                                                                                                                                                 87.84
Account No. 04008565                                                                     2005
                                                                                         collection
Sharon Tabor Warren EA INC
901 Church St.                                                                       -
Lynchburg, VA 24504

                                                                                                                                                                             3,940.00
Account No. 000                                                                          2007
                                                                                         collection
The Macon Bookstore
2500 Rivermont Ave.                                                                  -
Lynchburg, VA 24503

                                                                                                                                                                               249.00
Account No. 0000                                                                         2007
                                                                                         collection
UCB Collection
PO BOX 140190                                                                        -
Toledo, OH 43614

                                                                                                                                                                               384.20
Account No. 10431154                                                                     2003
                                                                                         collection
United Collect Bur
5620 Southwyck Blvd                                                                  -
Toledo, OH 43614

                                                                                                                                                                               384.00

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Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                                           Subtotal
                                                                                                                                                                             5,045.04
Creditors Holding Unsecured Nonpriority Claims                                                                                          (Total of this page)
                                                                                                                                                    Total
                                                                                                                          (Report on Summary of Schedules)                 66,816.35


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  In re             Karen F. Cunningham                                                                           Case No.       07-61731
                                                                                                       ,
                                                                                      Debtor

                         SCHEDULE G. EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               indicate that by stating "a minor child" and do not disclose the child's name. See 11 U.S.C. § 112; Fed.R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                        Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                             State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                   State contract number of any government contract.




       0         continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases

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  In re          Karen F. Cunningham                                                                     Case No.       07-61731
                                                                                                  ,
                                                                                      Debtor

                                                                       SCHEDULE H. CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     indicate that by stating "a minor child" and do not disclose the child's name. See 11 U.S.C. § 112; Fed. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                            NAME AND ADDRESS OF CREDITOR




       0       continuation sheets attached to Schedule of Codebtors

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  In re       Karen F. Cunningham                                                                        Case No.        07-61731
                                                                               Debtor(s)

                           SCHEDULE I. CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child.
 Debtor's Marital Status:                                                     DEPENDENTS OF DEBTOR AND SPOUSE
                                          RELATIONSHIP(S):                                            AGE(S):
        Single                                 None.

 Employment:                                                DEBTOR                                                  SPOUSE
 Occupation
 Name of Employer                     self employed
 How long employed
 Address of Employer

 INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                  SPOUSE
 1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $               0.00      $               N/A
 2. Estimate monthly overtime                                                                             $               0.00      $               N/A

 3. SUBTOTAL                                                                                              $               0.00      $               N/A

 4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                 $               0.00      $               N/A
     b. Insurance                                                                                         $               0.00      $               N/A
     c. Union dues                                                                                        $               0.00      $               N/A
     d. Other (Specify):                                                                                  $               0.00      $               N/A
                                                                                                          $               0.00      $               N/A

 5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $               0.00      $               N/A

 6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $               0.00      $               N/A

 7. Regular income from operation of business or profession or farm (Attach detailed statement)           $             400.00      $               N/A
 8. Income from real property                                                                             $               0.00      $               N/A
 9. Interest and dividends                                                                                $               0.00      $               N/A
 10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or
      that of dependents listed above                                                                     $               0.00      $               N/A
 11. Social security or government assistance
 (Specify):                                                                                               $               0.00      $               N/A
                                                                                                          $               0.00      $               N/A
 12. Pension or retirement income                                                                         $               0.00      $               N/A
 13. Other monthly income
 (Specify):        rental from house on Ridgewood                                                         $         1,200.00        $               N/A
                                                                                                          $             0.00        $               N/A

 14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $         1,600.00        $               N/A

 15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         1,600.00        $               N/A

 16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals                                                        $            1,600.00
 from line 15; if there is only one debtor repeat total reported on line 15)
                                                                                     (Report also on Summary of Schedules and, if applicable, on
                                                                                     Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
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Official Form 6J (10/06)


 In re      Karen F. Cunningham                                                               Case No.    07-61731
                                                                  Debtor(s)


           SCHEDULE J. CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                   792.00
 a. Are real estate taxes included?                            Yes                No X
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                          $                   150.00
                   b. Water and sewer                                                                       $                    40.00
                   c. Telephone                                                                             $                    29.00
                   d. Other See Detailed Expense Attachment                                                 $                    90.00
3. Home maintenance (repairs and upkeep)                                                                    $                    75.00
4. Food                                                                                                     $                   250.00
5. Clothing                                                                                                 $                    75.00
6. Laundry and dry cleaning                                                                                 $                    25.00
7. Medical and dental expenses                                                                              $                    50.00
8. Transportation (not including car payments)                                                              $                   200.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                   100.00
10. Charitable contributions                                                                                $                     0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                     0.00
                   b. Life                                                                                  $                    30.00
                   c. Health                                                                                $                   100.00
                   d. Auto                                                                                  $                     0.00
                   e. Other                                                                                 $                     0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                   $                    0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                     0.00
                   b. Other                                                                                 $                     0.00
                   c. Other                                                                                 $                     0.00
                   d. Other                                                                                 $                     0.00
14. Alimony, maintenance, and support paid to others                                                        $                     0.00
15. Payments for support of additional dependents not living at your home                                   $                     0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                     0.00
17. Other                                                                                                   $                     0.00
    Other                                                                                                   $                     0.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                 2,006.00
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                 1,600.00
b. Average monthly expenses from Line 18 above                                                              $                 2,006.00
c. Monthly net income (a. minus b.)                                                                         $                  -406.00
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 In re      Karen F. Cunningham                                            Case No.   07-61731
                                                        Debtor(s)

                      SCHEDULE J. CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                            Detailed Expense Attachment
Other Utility Expenditures:
cell                                                                                  $            50.00
cable                                                                                 $            40.00
Total Other Utility Expenditures                                                      $            90.00
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Official Form 6-Declaration. (10/06)

                                                                  United States Bankruptcy Court
                                                                           Western District of Virginia
 In re       Karen F. Cunningham                                                                                   Case No.   07-61731
                                                                                             Debtor(s)             Chapter    7




                                         DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
                21  sheets [total shown on summary page plus 2], and that they are true and correct to the best of my
             knowledge, information, and belief.




 Date October 1, 2007                                                           Signature    /s/ Karen F. Cunningham
                                                                                             Karen F. Cunningham
                                                                                             Debtor

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                      18 U.S.C. §§ 152 and 3571.




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Official Form 7
(04/07)


                                                                  United States Bankruptcy Court
                                                                           Western District of Virginia
 In re       Karen F. Cunningham                                                                                  Case No.       07-61731
                                                                                             Debtor(s)            Chapter        7


                                                          STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. Do not include the name or address of a minor child in this statement. Indicate payments,
transfers and the like to minor children by stating "a minor child." See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                             DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.

                                                               __________________________________________

                  1. Income from employment or operation of business

    None          State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
                  business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
                  year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
                  calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
                  report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
                  each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
                  petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE
                           $14,000.00                               2007 estimated income
                           $0.00                                    2006 income - unknown - waiting for tax returns
                           $0.00                                    2005 income, unkown, waiting for tax returns




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                                                                                                                                                            2

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE
                           $9,600.00                                2007 rental income

               3. Payments to creditors

    None       Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
               and other debts to any creditor made within 90 days immediately preceding the commencement of this case if the aggregate value of all
               property that constitutes or is affected by such transfer is not less than $600. Indicate with an (*) any payments that were made to a
               creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
               nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS                                                                  DATES OF                                          AMOUNT STILL
     OF CREDITOR                                                                   PAYMENTS                    AMOUNT PAID              OWING
 Bank of America - Glasser & Glasser                                               regular monthly payments         $0.00             $73,000.00
 584 E. Main Street
 Sutie 600
 Norfolk, VA 23510

    None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case if the aggregate value of all property that constitutes or is affected by such
               transfer is not less than $5,475. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                                   AMOUNT
                                                                                   DATES OF                         PAID OR
                                                                                   PAYMENTS/                      VALUE OF           AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                                      TRANSFERS                     TRANSFERS             OWING

    None       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                    AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                                       DATE OF PAYMENT             AMOUNT PAID             OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

    None       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                                             COURT OR AGENCY       STATUS OR
 AND CASE NUMBER                                NATURE OF PROCEEDING                         AND LOCATION          DISPOSITION
 see all judgement liens on
 the real estate for a
 complete list of all suits and
 judgments obtained against
 the debtor




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                                                                                                                                                              3
    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                                 DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                                 DATE OF SEIZURE              PROPERTY

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                          DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                        FORECLOSURE SALE,           DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                       TRANSFER OR RETURN                   PROPERTY
 Chrysler Financial                                                     2005                            car 15,000.00 PT Cruiser
 PO Box 1728
 Newark, NJ 07101

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                           ASSIGNMENT                      TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                   NAME AND LOCATION
 NAME AND ADDRESS                                                       OF COURT                         DATE OF         DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                    CASE TITLE & NUMBER                   ORDER                 PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                             RELATIONSHIP TO                                         DESCRIPTION AND
 PERSON OR ORGANIZATION                                             DEBTOR, IF ANY                      DATE OF GIFT        VALUE OF GIFT
 Goodwill                                                                                               2007               50.00 monthly
 Forest, VA 24551

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                      DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                               LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                        BY INSURANCE, GIVE PARTICULARS                DATE OF LOSS
 phone equip. 1500                                                               stolen, tried to file police report nothing came out 2006
                                                                                 of it

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                                                                                                                                                                4


               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                                    DATE OF PAYMENT,                        AMOUNT OF MONEY
 NAME AND ADDRESS                                                                NAME OF PAYOR IF OTHER                 OR DESCRIPTION AND VALUE
     OF PAYEE                                                                          THAN DEBTOR                             OF PROPERTY
 Stephen E. Dunn, PLLC                                                           9/2007                                $500.00
 201 Enterprise Drive
 Suite A
 Forest, VA 24551

               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                    DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                                     DATE                       AND VALUE RECEIVED

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                             AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                         DATE(S) OF          VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                                TRANSFER(S)         IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                                   TYPE OF ACCOUNT, LAST FOUR
                                                                                   DIGITS OF ACCOUNT NUMBER,            AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                  AND AMOUNT OF FINAL BALANCE                  OR CLOSING

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                              NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                     OF THOSE WITH ACCESS                   DESCRIPTION                DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                         TO BOX OR DEPOSITORY                   OF CONTENTS                 SURRENDER, IF ANY

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                    DATE OF SETOFF                         AMOUNT OF SETOFF


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                                                                                                                                                             5

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


                                                                                 DESCRIPTION AND VALUE OF
 NAME AND ADDRESS OF OWNER                                                              PROPERTY                       LOCATION OF PROPERTY

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                         NAME USED                             DATES OF OCCUPANCY

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                              NAME AND ADDRESS OF                    DATE OF                  ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                      NOTICE                   LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                              NAME AND ADDRESS OF                    DATE OF                  ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                      NOTICE                   LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                               DOCKET NUMBER                         STATUS OR DISPOSITION




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                                                                                                                                                               6

               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                        LAST FOUR DIGITS
                                        OF SOC. SEC. NO./
                                        COMPLETE EIN OR
                                        OTHER TAXPAYER                                                                             BEGINNING AND
 NAME                                   I.D. NO.                         ADDRESS                   NATURE OF BUSINESS              ENDING DATES
 Dominion Homes and                                                                                construction                    2001 - 2003
 Land Inc

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                           ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                          DATES SERVICES RENDERED
 Debtor


    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
               of account and records, or prepared a financial statement of the debtor.

 NAME                                                  ADDRESS                                             DATES SERVICES RENDERED

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                        ADDRESS

    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                 DATE ISSUED


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                                                                                                                                                                7

               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                                DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                     INVENTORY SUPERVISOR                                     (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                           RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                               NATURE OF INTEREST                        PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                                NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                               TITLE                           OF STOCK OWNERSHIP

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                              ADDRESS                                               DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                               TITLE                           DATE OF TERMINATION

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                           AMOUNT OF MONEY
 OF RECIPIENT,                                                                  DATE AND PURPOSE                          OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                         OF WITHDRAWAL                             VALUE OF PROPERTY

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
               group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                                  TAXPAYER IDENTIFICATION NUMBER (EIN)

               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an
               employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                        TAXPAYER IDENTIFICATION NUMBER (EIN)


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                                                                                                                                                                      8


                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date October 1, 2007                                                           Signature    /s/ Karen F. Cunningham
                                                                                             Karen F. Cunningham
                                                                                             Debtor
                    Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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Form 8
(10/05)

                                                                  United States Bankruptcy Court
                                                                           Western District of Virginia
 In re       Karen F. Cunningham                                                                                           Case No.      07-61731
                                                                                             Debtor(s)                     Chapter       7


                             CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
          I have filed a schedule of assets and liabilities which includes debts secured by property of the estate.
          I have filed a schedule of executory contracts and unexpired leases which includes personal property subject to an unexpired lease.
          I intend to do the following with respect to property of the estate which secures those debts or is subject to a lease:

                                                                                                                                      Property will be   Debt will be
                                                                                                                     Property         redeemed           reaffirmed
                                                                                                    Property will be is claimed       pursuant to        pursuant to
 Description of Secured Property                                   Creditor's Name                  Surrendered      as exempt        11 U.S.C. § 722    11 U.S.C. § 524(c)
 Lot 13 Block A Evergreen Subdivision                              Acres of Virginia                      X
 Lot 13 Block A Evergreen Subdivision                              Bank of America -                      X
                                                                   Glasser & Glasser
 Lot 13 Block A Evergreen Subdivision                              Bedford Memorial                       X
                                                                   Hospital
 Lot 13 Block A Evergreen Subdivision                              Department of Taxation                 X
 Lot 13 Block A Evergreen Subdivision                              Faisal Development,                    X
                                                                   LLC
 Lot 13 Block A Evergreen Subdivision                              Farmers Bank of                        X
                                                                   Appomattox
 Lot 13 Block A Evergreen Subdivision                              John L. Wynne                          X
 Lot 13 Block A Evergreen Subdivision                              Lindonn Associates                     X
 Lot 13 Block A Evergreen Subdivision                              National Loan Recovery                 X
 Lot 13 Block A Evergreen Subdivision                              Sharon Tabor Warren                    X
                                                                   EA INC
 Lot 13 Block A Evergreen Subdivision                              Timothy Hodges                         X



                                                                                                    Lease will be
                                                                                                    assumed pursuant
 Description of Leased                                                                              to 11 U.S.C. §
 Property                                                          Lessor's Name                    362(h)(1)(A)
 -NONE-




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Form 8 Cont.
(10/05)
 In re         Karen F. Cunningham                                                                                   Case No.   07-61731
                                                                                              Debtor(s)

                             CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                                      (Continuation Sheet)




 Date October 1, 2007                                                           Signature      /s/ Karen F. Cunningham
                                                                                               Karen F. Cunningham
                                                                                               Debtor




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                                                                  United States Bankruptcy Court
                                                                           Western District of Virginia
 In re       Karen F. Cunningham                                                                                      Case No.   07-61731
                                                                                             Debtor(s)                Chapter    7


                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                         $                800.00
              Prior to the filing of this statement I have received                                               $                500.00
              Balance Due                                                                                         $                300.00

2.     $     0.00       of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                    Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                    Debtor                  Other (specify):

5.           I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

             I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                                     CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:       October 1, 2007                                                                /s/ Stephen E. Dunn
                                                                                             Stephen E. Dunn 26355
                                                                                             Stephen E. Dunn, PLLC
                                                                                             201 Enterprise Drive
                                                                                             Suite A
                                                                                             Forest, VA 24551
                                                                                             434-385-4850 Fax: 434-385-8868
                                                                                             stephen@stephendunn-pllc.com




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                                                          UNITED STATES BANKRUPTCY COURT
                                                           WESTERN DISTRICT OF VIRGINIA

                                NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)
                                              OF THE BANKRUPTCY CODE
                      In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services available from
             credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of bankruptcy proceedings
             you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General may examine all
             information you supply in connection with a bankruptcy case. You are cautioned that bankruptcy law is complicated and not
             easily described. Thus, you may wish to seek the advice of an attorney to learn of your rights and responsibilities should you
             decide to file a petition. Court employees cannot give you legal advice.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

             Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total Fee $299)
          1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
whose debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to
decide whether the case should be dismissed.
          2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to
take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
          3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
          4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still
be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed
in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while
intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from
a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.

             Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
             $39 administrative fee: Total fee $274)
          1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments
over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the
Bankruptcy Code.
          2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them,
using your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
          3. After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly
listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.



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             Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.


             Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court.

                                                                               Certificate of Attorney
             I hereby certify that I delivered to the debtor this notice required by § 342(b) of the Bankruptcy Code.

 Stephen E. Dunn 26355                                                                       X /s/ Stephen E. Dunn                      October 1, 2007
Printed Name of Attorney                                                                       Signature of Attorney                    Date
Address:
201 Enterprise Drive
Suite A
Forest, VA 24551
434-385-4850

                                                                                Certificate of Debtor
             I (We), the debtor(s), affirm that I (we) have received and read this notice.

 Karen F. Cunningham                                                                         X /s/ Karen F. Cunningham                  October 1, 2007
 Printed Name(s) of Debtor(s)                                                                  Signature of Debtor                      Date

 Case No. (if known) 07-61731                                                                X
                                                                                                 Signature of Joint Debtor (if any)     Date




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                                                                           Western District of Virginia
 In re       Karen F. Cunningham                                                                          Case No.   07-61731
                                                                                             Debtor(s)    Chapter    7




                                                 VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date:      October 1, 2007                                                     /s/ Karen F. Cunningham
                                                                                Karen F. Cunningham
                                                                                Signature of Debtor




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Official Form 22A (Chapter 7) (04/07)


 In re      Karen F. Cunningham
                                   Debtor(s)
                                                                                                  According to the calculations required by this statement:
 Case Number:            07-61731                                                                         The presumption arises.
                                   (If known)
                                                                                                          The presumption does not arise.
                                                                                             (Check the box as directed in Parts I, III, and VI of this statement.)


                             CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                       AND MEANS-TEST CALCULATION
In addition to Schedules I and J, this statement must be completed by every individual Chapter 7 debtor, whether or not filing jointly, whose debts are
primarily consumer debts. Joint debtors may complete one statement only.


                                               Part I. EXCLUSION FOR DISABLED VETERANS
              If you are a disabled veteran described in the Veteran's Declaration in this Part I, (1) check the box at the beginning of the Veteran's
              Declaration, (2) check the box for "The presumption does not arise" at the top of this statement, and (3) complete the verification in Part
              VIII. Do not complete any of the remaining parts of this statement.
     1
                 Veteran's Declaration. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as defined in 38 U.S.C. §
              3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as defined in 10 U.S.C. § 101(d)(1)) or while
              I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).


              Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
              Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
              a.       Unmarried. Complete only Column A ("Debtor's Income") for Lines 3-11.
              b.      Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under penalty of perjury: "My
                    spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I are living apart other than for the purpose
     2              of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code." Complete only column A ("Debtor's Income") for Lines
                    3-11.
              c.      Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both Column A
                    ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
              d.      Married, filing jointly. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
              All figures must reflect average monthly income received from all sources, derived during the six   Column A       Column B
              calendar months prior to filing the bankruptcy case, ending on the last day of the month before the
              filing. If the amount of monthly income varied during the six months, you must divide the six-      Debtor's       Spouse's
              month total by six, and enter the result on the appropriate line.                                    Income         Income

     3        Gross wages, salary, tips, bonuses, overtime, commissions.                                                        $         500.00    $
              Income from the operation of a business, profession or farm. Subtract Line b from Line a and
              enter the difference in the appropriate column(s) of Line 4. Do not enter a number less than zero.
              Do not include any part of the business expenses entered on Line b as a deduction in Part
              V.
     4                                                                     Debtor                 Spouse
               a.    Gross receipts                                 $               0.00 $
               b.      Ordinary and necessary business expenses                    $               0.00    $
               c.      Business income                                             Subtract Line b from Line a                  $            0.00   $
              Rents and other real property income. Subtract Line b from Line a and enter the difference in
              the appropriate column(s) of Line 5. Do not enter a number less than zero. Do not include any
              part of the operating expenses entered on Line b as a deduction in Part V.
     5                                                                   Debtor                 Spouse
               a.    Gross receipts                                $          1,200.00 $
               b.      Ordinary and necessary operating expenses                   $                0.00   $
               c.      Rent and other real property income                         Subtract Line b from Line a                  $       1,200.00    $
     6        Interest, dividends, and royalties.                                                                               $            0.00   $
     7        Pension and retirement income.                                                                                    $            0.00   $
              Any amounts paid by another person or entity, on a regular basis, for the household
     8        expenses of the debtor or the debtor's dependents, including child or spousal support. Do
              not include amounts paid by the debtor's spouse if Column B is completed.                                         $            0.00   $




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              Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
              However, if you contend that unemployment compensation received by you or your spouse was a
              benefit under the Social Security Act, do not list the amount of such compensation in Column A or B,
     9        but instead state the amount in the space below:
               Unemployment compensation claimed to
               be a benefit under the Social Security Act                Debtor $               0.00   Spouse $
                                                                                                                                 $           0.00   $
              Income from all other sources. If necessary, list additional sources on a separate page. Do not
              include any benefits received under the Social Security Act or payments received as a victim of a
              war crime, crime against humanity, or as a victim of international or domestic terrorism. Specify
              source and amount.
    10                                                                      Debtor                  Spouse
               a.                                                   $                       $
               b.                                                   $                       $
              Total and enter on Line 10                                                                                         $           0.00   $

    11
              Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column
              A, and, if Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s).                          $       1,700.00   $
              Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add
    12        Line 11, Column A to Line 11, Column B, and enter the total. If Column B has not been completed,
              enter the amount from Line 11, Column A.                                                                           $                            1,700.00


                                        Part III. APPLICATION OF § 707(b)(7) EXCLUSION
    13
              Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number
              12 and enter the result.                                                                                                          $            20,400.00
              Applicable median family income. Enter the median family income for the applicable state and household
    14        size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)

               a. Enter debtor's state of residence:                        VA               b. Enter debtor's household size:       1          $            46,601.00
              Application of Section 707(b)(7). Check the applicable box and proceed as directed.

    15
                  The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for "The presumption does not
                   arise" at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.
                  The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.

                      Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15.)

                Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
    16        Enter the amount from Line 12.                                                                                                    $
              Marital adjustment. If you checked the box at Line 2.c, enter the amount of the income listed in Line 11, Column
    17        B that was NOT paid on a regular basis for the household expenses of the debtor or the debtor's dependents. If you
              did not check box at Line 2.c, enter zero.                                                                                        $
    18        Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                                       $


                   Part V. CALCULATION OF DEDUCTIONS ALLOWED UNDER § 707(b)(2)
                          Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
              National Standards: food, clothing, household supplies, personal care, and miscellaneous.
    19        Enter "Total" amount from IRS National Standards for Allowable Living Expenses for the applicable family size and
              income level. (This information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                    $
              Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS
    20A       Housing and Utilities Standards; non-mortgage expenses for the applicable county and family size. (This information
              is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court).                                                    $




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              Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount
              of the IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this information is
              available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on Line b the total of the Average
              Monthly Payments for any debts secured by your home, as stated in Line 42; subtract Line b from Line a and enter the
    20B       result in Line 20B. Do not enter an amount less than zero.
               a.       IRS Housing and Utilities Standards; mortgage/rental expense             $
               b.       Average Monthly Payment for any debts secured by your home,
                        if any, as stated in Line 42                                             $
               c.       Net mortgage/rental expense                                              Subtract Line b from Line a.          $
              Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines
              20A and 20B does not accurately compute the allowance to which you are entitled under the IRS Housing and Utilities
    21        Standards, enter any additional amount to which you contend you are entitled, and state the basis for your contention
              in the space below:
                                                                                                                                       $
              Local Standards: transportation; vehicle operation/public transportation expense.
              You are entitled to an expense allowance in this category regardless of whether you pay the expenses of operating a
              vehicle and regardless of whether you use public transportation.
              Check the number of vehicles for which you pay the operating expenses or for which the operating expenses are
              included as a contribution to your household expenses in Line 8.
    22
                    0      1         2 or more.

              Enter the amount from IRS Transportation Standards, Operating Costs & Public Transportation Costs for the applicable
              number of vehicles in the applicable Metropolitan Statistical Area or Census Region. (This information is available at
              www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                                                           $
              Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of
              vehicles for which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more
              than two vehicles.)
                    1      2 or more.

              Enter, in Line a below, the amount of the IRS Transportation Standards, Ownership Costs, First Car (available at
    23        www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average Monthly
              Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from Line a and enter the result in
              Line 23. Do not enter an amount less than zero.
               a.       IRS Transportation Standards, Ownership Costs, First Car             $
                        Average Monthly Payment for any debts secured by Vehicle 1,
               b.       as stated in Line 42                                                 $
               c.       Net ownership/lease expense for Vehicle 1                            Subtract Line b from Line a.              $
              Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if
              you checked the "2 or more" Box in Line 23.
              Enter, in Line a below, the amount of the IRS Transportation Standards, Ownership Costs, Second Car (available at
              www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average Monthly
              Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from Line a and enter the result in
    24
              Line 24. Do not enter an amount less than zero.
               a.       IRS Transportation Standards, Ownership Costs, Second Car            $
                        Average Monthly Payment for any debts secured by Vehicle 2,
               b.       as stated in Line 42                                                 $
               c.       Net ownership/lease expense for Vehicle 2                            Subtract Line b from Line a.              $
              Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
    25        federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self employment taxes,
              social security taxes, and Medicare taxes. Do not include real estate or sales taxes.                                    $
              Other Necessary Expenses: mandatory payroll deductions. Enter the total average monthly payroll
    26        deductions that are required for your employment, such as mandatory retirement contributions, union dues, and
              uniform costs. Do not include discretionary amounts, such as non-mandatory 401(k) contributions.                         $
              Other Necessary Expenses: life insurance. Enter average monthly premiums that you actually pay for
    27        term life insurance for yourself. Do not include premiums for insurance on your dependents, for whole life or
              for any other form of insurance.                                                                                         $




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              Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
    28        required to pay pursuant to court order, such as spousal or child support payments. Do not include payments on
              past due support obligations included in Line 44.                                                                           $
              Other Necessary Expenses: education for employment or for a physically or mentally
    29        challenged child. Enter the total monthly amount that you actually expend for education that is a condition of
              employment and for education that is required for a physically or mentally challenged dependent child for whom no
              public education providing similar services is available.                                                                   $

    30
              Other Necessary Expenses: childcare. Enter the average monthly amount that you actually expend on
              childcare - such as baby-sitting, day care, nursery and preschool. Do not include other educational payments.               $
              Other Necessary Expenses: health care. Enter the average monthly amount that you actually expend on
    31        health care expenses that are not reimbursed by insurance or paid by a health savings account. Do not include
              payments for health insurance or health savings accounts listed in Line 34.                                                 $
              Other Necessary Expenses: telecommunication services. Enter the average monthly amount that you
              actually pay for telecommunication services other than your basic home telephone service - such as cell phones,
    32
              pagers, call waiting, caller id, special long distance, or internet service - to the extent necessary for your health and
              welfare or that of your dependents. Do not include any amount previously deducted.                                          $
    33        Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32.                                         $

                                             Subpart B: Additional Expense Deductions under § 707(b)
                                  Note: Do not include any expenses that you have listed in Lines 19-32
              Health Insurance, Disability Insurance, and Health Savings Account Expenses. List and total
              the average monthly amounts that you actually pay for yourself, your spouse, or your dependents in the following
              categories.

    34         a.         Health Insurance                                                   $
               b.         Disability Insurance                                               $
               c.         Health Savings Account                                             $
                                                                                         Total: Add Lines a, b and c                      $
              Continued contributions to the care of household or family members. Enter the actual monthly
    35        expenses that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically ill,
              or disabled member of your household or member of your immediate family who is unable to pay for such expenses.             $
              Protection against family violence. Enter any average monthly expenses that you actually incurred to
    36        maintain the safety of your family under the Family Violence Prevention and Services Act or other applicable federal
              law. The nature of these expenses is required to be kept confidential by the court.                                         $
              Home energy costs. Enter the average monthly amount, in excess of the allowance in the IRS Local Standards
    37        for Housing and Utilities, that you actually expend for home energy costs. You must provide your case trustee
              with documentation demonstrating that the additional amount claimed is reasonable and necessary.                            $
              Education expenses for dependent children less than 18. Enter the average monthly expenses that
              you actually incur, not to exceed $137.50 per child, in providing elementary and secondary education for your
    38        dependent children less than 18 years of age. You must provide your case trustee with documentation
              demonstrating that the amount claimed is reasonable and necessary and not already accounted for in the
              IRS Standards.                                                                                                              $
              Additional food and clothing expense. Enter the average monthly amount by which your food and clothing
              expenses exceed the combined allowances for food and apparel in the IRS National Standards, not to exceed five
    39        percent of those combined allowances. (This information is available at www.usdoj.gov/ust/ or from the clerk of the
              bankruptcy court.) You must provide your case trustee with documentation demonstrating that the
              additional amount claimed is reasonable and necessary.                                                                      $

    40
              Continued charitable contributions. Enter the amount that you will continue to contribute in the form of
              cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                         $
    41        Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40                                  $




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                                                             Subpart C: Deductions for Debt Payment
              Future payments on secured claims. For each of your debts that is secured by an interest in property that
              you own, list the name of the creditor, identify the property securing the debt, and state the Average Monthly
    42        Payment. The Average Monthly Payment is the total of all amounts contractually due to each Secured Creditor in the
              60 months following the filing of the bankruptcy case, divided by 60. Mortgage debts should include payments of
              taxes and insurance required by the mortgage. If necessary, list additional entries on a separate page.
                      Name of Creditor                             Property Securing the Debt           60-month Average Payment
                 a.                                                                                 $
                                                                                                                    Total: Add Lines     $

              Other payments on secured claims. If any of debts listed in Line 42 are secured by your primary residence,
              a motor vehicle, or other property necessary for your support or the support of your dependents, you may include in
    43        your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor in addition to the payments
              listed in Line 42, in order to maintain possession of the property. The cure amount would include any sums in default
              that must be paid in order to avoid repossession or foreclosure. List and total any such amounts in the following chart.
              If necessary, list additional entries on a separate page.
                      Name of Creditor                             Property Securing the Debt            1/60th of the Cure Amount
                 a.                                                                                 $
                                                                                                                    Total: Add Lines     $

    44
              Payments on priority claims. Enter the total amount of all priority claims (including priority child support and
              alimony claims), divided by 60.                                                                                            $
              Chapter 13 administrative expenses. If you are eligible to file a case under Chapter 13, complete the
              following chart, multiply the amount in line a by the amount in line b, and enter the resulting administrative expense.

               a.        Projected average monthly Chapter 13 plan payment.                     $
    45         b.        Current multiplier for your district as determined under schedules
                         issued by the Executive Office for United States Trustees. (This
                         information is available at www.usdoj.gov/ust/ or from the clerk of
                         the bankruptcy court.)                                                 x
               c.        Average monthly administrative expense of Chapter 13 case              Total: Multiply Lines a and b            $
    46        Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                                 $

                                               Subpart D: Total Deductions Allowed under § 707(b)(2)
    47        Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                                $



                                              Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
    48        Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                     $
    49        Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                          $
    50        Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result.                           $

    51
              60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and
              enter the result.                                                                                                          $




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              Initial presumption determination. Check the applicable box and proceed as directed.

                 The amount on Line 51 is less than $6,575. Check the box for "The presumption does not arise" at the top of page 1 of this
              statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
    52
                  The amount set forth on Line 51 is more than $10,950 Check the box for "The presumption arises" at the top of page 1 of
              this statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the remainder of Part VI.

                    The amount on Line 51 is at least $6,575, but not more than $10,950. Complete the remainder of Part VI (Lines 53
              through 55).

    53        Enter the amount of your total non-priority unsecured debt                                                                  $
    54        Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result.                      $
              Secondary presumption determination. Check the applicable box and proceed as directed.

                    The amount on Line 51 is less than the amount on Line 54. Check the box for "The presumption does not arise" at the
              top of page 1 of this statement, and complete the verification in Part VIII.
    55
                  The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for "The presumption
              arises" at the top of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII.




                                                             Part VII. ADDITIONAL EXPENSE CLAIMS
              Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health and welfare
              of you and your family and that you contend should be an additional deduction from your current monthly income under § 707(b)(2)(A)(ii)(I).
              If necessary, list additional sources on a separate page. All figures should reflect your average monthly expense for each item. Total the
              expenses.

    56                 Expense Description                                                                                   Monthly Amount
               a.                                                                                            $
               b.                                                                                            $
               c.                                                                                            $
               d.                                                                                            $
                                                                           Total: Add Lines a, b, c, and d   $


                                                                           Part VIII. VERIFICATION
              I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case, both debtors
              must sign.)
                             Date:    October 1, 2007                                      Signature: /s/ Karen F. Cunningham
    57
                                                                                                                 Karen F. Cunningham
                                                                                                                         (Debtor)




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                                                      Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 03/01/2007 to 08/31/2007.

Line 3 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: misc jobs
Income by Month:
 6 Months Ago:                                     03/2007                      $500.00
 5 Months Ago:                                     04/2007                      $500.00
 4 Months Ago:                                     05/2007                      $500.00
 3 Months Ago:                                     06/2007                      $500.00
 2 Months Ago:                                     07/2007                      $500.00
 Last Month:                                       08/2007                      $500.00
                                  Average per month:                            $500.00




Line 5 - Rent and other real property income
Source of Income: rental income
Income/Expense/Net by Month:
                          Date                                                     Income                         Expense                    Net
 6 Months Ago:                  03/2007                                                      $1,200.00                      $0.00                  $1,200.00
 5 Months Ago:                  04/2007                                                      $1,200.00                      $0.00                  $1,200.00
 4 Months Ago:                  05/2007                                                      $1,200.00                      $0.00                  $1,200.00
 3 Months Ago:                  06/2007                                                      $1,200.00                      $0.00                  $1,200.00
 2 Months Ago:                  07/2007                                                      $1,200.00                      $0.00                  $1,200.00
 Last Month:                    08/2007                                                      $1,200.00                      $0.00                  $1,200.00
                      Average per month:                                                     $1,200.00                      $0.00
                                                                                                         Average Monthly NET Income:               $1,200.00




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